Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 1 of 38 PageID# 18183




                                   Exhibit B




                                                                              1
                           Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 2 of 38 PageID# 18184


                                                 Deposition                                                                           Esquire Invoice                     Esquire Total for
                      Witness                       Date        Invoice No.  TSG Invoice Total TSG Expedited Fee TSG Total for BOC        Total          Less Video            BOC                   Explanation
Deposition of George Baer and Steven Roark        7/31/2014   ESQ161201                                                                      $2,604.72            $0.00           $2,604.72   No video
Deposition of Carl Brumfield                      9/25/2014   ESQ186956                                                                      $1,092.31          $225.00             $867.31   Total less video
Deposition of Charles Steve Bruton, Jr.            8/8/2014   ESQ163104                                                                      $2,024.32            $0.00           $2,024.32   No video
Deposition of Ian Cattanach and Deborah Scott     9/26/2014   ESQ187932                                                                      $1,583.99          $300.00           $1,283.99   Total less video
Deposition of Curtis Chambers                     8/21/2014   082114-324707          $4,838.00         $1,349.00         $3,489.00                                                            Standard Delivery
Deposition of Curtis Chambers                    10/21/2014   102114-428455          $1,961.85           $715.85         $1,246.00                                                            Standard Delivery
Deposition of Curtis Chambers                      1/8/2015   010815-431779          $3,928.25         $1,210.25         $2,718.00                                                            Standard Delivery
Deposition of Ryan Cleaton and Jeffrey Henshaw   10/14/2014   ESQ196956                                                                     $2,827.25          $450.00            $2,377.25   Total less video
Deposition of David Crawford                       1/7/2015   010715-431775          $6,330.60         $1,926.10         $4,404.50                                                            Standard Delivery
Deposition of Donald Davis                         1/6/2015   010615-431771          $2,451.85           $664.35         $1,787.50                                                            Standard Delivery
Deposition of Randal Dymond                      11/18/2014   111814-429824          $7,705.25         $2,079.00         $5,626.25                                                            Standard Delivery
Deposition of Timothy Estes                       8/15/2014   081514-324393          $2,679.05           $782.80         $1,896.25                                                            Standard Delivery
Deposition of Jeffrey Farr                        8/22/2014   082214-324710          $3,556.75         $1,007.00         $2,549.75                                                            Standard Delivery
Deposition of Joseph Gabbard, Jr., PhD            11/6/2014   110614-429455          $3,304.61           $874.00         $2,430.61                                                            Standard Delivery
Deposition of Travis Halky                       12/10/2014   121014-430562          $2,152.60           $612.85         $1,539.75                                                            Standard Delivery
Deposition of Brett Hatfield                     10/15/2014   ESQ198903                                                                     $1,294.24            $0.00            $1,294.24   No video
Deposition of John Jarosz                        11/12/2014   111214-429459          $4,271.05         $1,480.05         $2,791.00                                                            Standard Delivery
Deposition of Mark Leonardo                      10/29/2014   102914-428912            $752.90           $262.65            $490.25                                                           Standard Delivery
Deposition of William Michalson, PhD              11/8/2014   ESQ212151                                                                     $3,069.35          $525.00            $2,544.35   Total less video
Deposition of Steven Nielson                      8/11/2014   081114-324390          $3,950.90         $1,112.40         $2,838.50                                                            Standard Delivery
Deposition of Steven Nielson                       1/9/2015   010915-431783A         $3,304.25         $1,030.00         $2,274.25                                                            Standard Delivery
Deposition of David Powell                        10/8/2014   ESQ195899                                                                     $1,269.32            $0.00            $1,269.32   No video
Deposition of Michele Riley                      11/13/2014   ESQ213741                                                                     $3,377.32        $1,346.19            $2,031.13   Total less video, laptop re
Deposition of Gail Sternstein                      1/9/2015   010915-431783B         $1,307.45           $401.70            $905.75                                                           Standard Delivery
Deposition of Dennis Tarosky                      10/8/2014   100814-427992          $2,733.25           $918.00         $1,815.25                                                            Standard Delivery
Deposition of Joseph Teja, Jr.                   10/30/2014   103014-428916          $2,748.95           $968.20         $1,780.75                                                            Standard Delivery
Deposition of Joseph Teja, Jr.                   12/18/2014   121814-431088          $2,465.50           $875.50         $1,590.00                                                            Standard Delivery
Deposition of Page Tucker                         8/22/2014   082214-426119          $1,846.70           $628.30         $1,218.40                                                            Standard Delivery
Deposition of Ivan Zatkovich                     11/17/2014   ESQ220716                                                                     $1,985.46          $612.00           $1,373.46    Total less video
TOTAL                                                                               $62,289.76        $18,898.00        $43,391.76                                              $17,670.09
TOTAL TO CLAIM                                                                                                                                                                                              $61,061.85
                  Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 3 of 38 PageID# 18185
                                                                                                   Page 1 of 2

                           ESQUIRE                                                                                          Remit to:
                                                                                                                                 Esquire Deposition Solutions, LLC
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                       Toll Free (800) 211-DEPO
                       Fax (856) 437-5009
                                                                                         Invoice# ESQ161201
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!!!!!!!!!!!                                                                              Invoice Date                               08/14/2014


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! !!!!!!!!!!           JOHN FLAIM ,ESQ.
                                                                                         Terms
                                                                                         Payment Due
                                                                                                                                      NET 30
                                                                                                                                    09/13/2014
                                                                                         Date of loss
iiiiiiiiiiiiiii        BAKER & MCKENZIE, LLP- DALLAS
iiiiiiiiiiiiiii
!!!!!!!!!!!                                                                              Name of Insured
                       2300 TRAMMELL CROW CENTER
                       2001 ROSS AVENUE                                                  Adjustor
                       DALLAS, TX 75201                                                  Claim Number

                   Assignment                              Case                            Assignment#                 Shipped                   Shipped Via

                   07/31/2014      ~ERTUSVIEW TECHNOLOGIES, LLC, vs. S & N LC                   154465              08/04/2014                     FED EX

             Description                                                                                                                          Amount
           Services Provided on 07/31/2014, GEORGE BAER (WINSTON-SALEM, NC)
                  ONE COPY OF TRANSCRIPT/WORD INDEX (135 Pages)                                                                                          $820.80
                  EXHIBITS                                                                                                                               $754.65
                  DIGITAL TRANSCRIPT/EXHIBITS                                                                                                               $35.00
                  CONDENSED TRANSCRIPT                                                                                                                      $35.00
                                                                                                                                                        $ 1,645.45
           Services Provided on 07/31/2014, STEVEN ROARK (WINSTON-SALEM, NC)
                  ONE COPY OF TRANSCRIPT/WORD INDEX (137 Pages)                                                                                          $832.96
                  EXHIBITS                                                                                                                               $ 108.00
                  REAL TIME FEED (55 Pages)                                                                                                              $101.75
                  DIGITAL TRANSCRIPT/EXHIBITS                                                                                                               $35.00
                  CONDENSED TRANSCRIPT                                                                                                                      $35.00
                                                                                                                                                       $1,112.71


                  CLIENT DISCOUNT ON PAGES                                                                                                              $-165.38



                                                                                                                CONTINUED ON NEXT PAGE ...

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                   C)                                                   VISA
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                                                                                                                                   Invoice#:
                                                                                                                            Payment Due:
                                                                                                                                                       ESQ161201
                                                                                                                                                        09/13/2014
     ESQUIRE                                                                                Amount Due On/Before 09/28/2014                           $2,604.72


    JOHN FLAIM ,ESQ.                                                                                Remit to:
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        194 0000161201 08142014 4 000260472 7 09132014 09282014 8 000286519 59
                  Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 4 of 38 PageID# 18186
                                                                                                   Page 2 of2

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                       Fax(856)437-5009
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!!!!!!!!!!!                                                                             Invoice Date                               08/14/2014
                                                                                        Terms                                        NET 30
                                                                                        Payment Due                                09/13/2014
                       JOHN FLAIM ,ESQ.                                                 Date of loss
                       BAKER & MCKENZIE, LLP- DALLAS
                                                                                        Name of Insured
                       2300 TRAMMELL CROW CENTER
                       2001 ROSS AVENUE                                                 Adjustor
                       DALLAS, TX 75201                                                 Claim Number

                  Assignment                              Case                            Assignment#                 Shipped                   Shipped Via

                   07/31/2014          ERTUSVIEW TECHNOLOGIES, LLC, vs. S & N L               154465              08/04/2014                      FED EX

            Description                                                                                                                          Amount


                  DELIVERY-OTHER                                                                                                                           $ 11.94
                                                                                                                                                        $ -153.44




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          INVOICE REf=LECTS 2 DAY EXPEDITE                                                                                          Tax:                      $0.00
          REAL TIME PROVIDED FOR WIT. ROARK
                                                                                                                                    Paid:                     $0.00

                                                                                                   Due On/Before 09/28/2014                          $2,604.72




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    ESQUIRE                                                                               Amount Due On/Before 09/28/2014                            $2,604.72


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      Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 5 of 38 PageID# 18187
                                                                                                              Remit to:
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              Atlanta, GA 30303                                                                                   www.esquiresolutions.com


              Tax Number:      XX-XXXXXXX
              Toll Free (800) 211-DEPO
                                                                            Invoice # ESQ186956
              Fax (856) 437-5009
                                                                            Invoice Date                             10/01/2014
                                                                            Terms                                      NET 30
                                                                            Payment Due                              10/31/2014
              W. BARTON RANKIN ,ESQ.                                        Date of Loss
              BAKER & MCKENZIE, LLP - DALLAS
                                                                            Name of Insured
              2300 TRAMMELL CROW CENTER
              2001 ROSS AVENUE                                              Adjustor
              DALLAS, TX 75201                                              Claim Number

       Assignment                               Case                          Assignment #              Shipped                   Shipped Via

        09/25/2014        CERTUSVIEW TECHNOLOGIES, LLC, vs. S & N LO             182210               09/26/2014                    FED EX

    Description                                                                                                                    Amount
   Services Provided on 09/25/2014, CARL BRUMFIELD (WINSTON-SALEM, NC)
       ONE COPY OF TRANSCRIPT/WORD INDEX (95 Pages)                                                                                       $ 538.65
       VIDEO                                                                                                                              $ 225.00
       ROUGH ASCII                                                                                                                        $ 117.00
       REALTIME FEED (78 Pages)                                                                                                           $ 136.50
       DIGITAL TRANSCRIPT/EXHIBITS                                                                                                           $ 30.00
       CONDENSED TRANSCRIPT                                                                                                                  $ 16.00
                                                                                                                                         $ 1,063.15


       DELIVERY-OTHER                                                                                                                        $ 29.16
                                                                                                                                             $ 29.16




   INVOICE REFLECTS 2 DAY EXPEDITE                                                                                     Tax:                     $ 0.00
   ROUGH AND REALTIME PROVIDED
                                                                                                                      Paid:                     $ 0.00

                                                                            Amount Due On/Before 11/15/2014                            $ 1,092.31



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                                                                                                                     Invoice #:          ESQ186956
                                                                                                               Payment Due:              10/31/2014

                                                                               Amount Due On/Before 11/15/2014                          $ 1,092.31


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Case 2:13-cv-00346-MSD-RJK Document     Conditions
                                    255-3 Filed 02/02/15 Page 6 of 38 PageID# 18188

  GENERAL
  1. Parties. "Seller" means Esquire Deposition Solutions, ("Esquire") and "Buyer" means Esquire's client, attorney and law firm as well as the client that the attorney or law firm is representing, jointly and severely.
  2. These terms and conditions (the "Terms and Conditions") supersede all prior representations or arrangements and contain the entire agreement between the parties in connection with Esquire Deposition Solutions
  products and services. Seller's acceptance of Buyer's order and sale of the products and services to Buyer are expressly conditioned upon Buyer's assent to these Terms and Conditions of Sale and any and all other
  terms and conditions, claimed to be expressed or implied, are excluded. Esquire Deposition Solutions hereby expressly objects to and rejects any and all additional or different terms contained in any other documents
  submitted by Buyer in connection with the sale of the products. Any conduct by Buyer which recognizes the existence of a contract between Seller and Buyer, including, without limitation, acceptance of delivery of or
  payment for the Products and Services shall be conclusive evidence of Buyer's assent to these Terms and Conditions.
  3. No subsequent document, purchase order, or conduct, including acts or verbal statements of any buyer shall purport to modify these Terms and Conditions.
  4. For further information regarding our pricing policy go to: www.esquiresolutions.com/services
  CREDIT AND PAYMENT TERMS
  1. Credit terms, if any, both as to time and amount, may be limited or revoked by Seller at any time without prior notice and thereafter the price of all or any part of Products delivered or to be delivered shall be payable
  in accordance with such limited credit terms, or, at Seller's option, in cash before shipment or on or after acceptance of delivery ("COD"). In circumstances described in Section 6(a), all unpaid balances owing to Seller
  from Buyer shall become immediately due and payable.
  2. The Buyer agrees to pay for all services and products according to the terms established by the creditor in response to his order. No terms and conditions of any invoice or purchase order which differ from the terms
  so established by the creditor will govern the relationship between the parties.
  3. The client agrees that all amounts payable on or before the due date as shown on each invoice will be paid, and if not paid on or before said date, are then delinquent. Client further agrees that any amount which is
  not paid when due shall be subject to an interest charge of 1.5% per month or the highest rate allowed by applicable law, until paid in full.
  4. The customer agrees to be responsible for all collections costs and attorney's fees in the event Esquire is forced to place the account for collection with an outside agency. If the collection is handled in-house by
  Esquire, customer agrees to be responsible for the in-house time and costs incurred which will be billed at the rate of $50.00 per hour.
  5. A $35 handling fee will be assessed to checks returned for insufficient funds.
  6. Late Fees: Payment is due in full as stated on your bill. If we do not receive payment in full by the date specified on your bill, a late payment charge, which may be charged at the highest rate permissible by law,
  may be applied to the total unpaid balance.
  7. Undisputed Charges: Disputed Charges - You Must Still Pay Undisputed Charges: Any dispute to a charge on your bill must be made within 60 days of the date of the bill that initially contained the charge. Disputes
  may only be made by calling, emailing or writing us as directed on your invoice or elsewhere. All charges not properly disputed within the allotted time period shall be deemed accepted; undisputed charges must still be
  paid as stated on your bill. Any delayed payments will be levied late fees as stated above.
  SOLVENCY
  1. The client represents that, as of the date of its order or scheduled deposition, it is solvent, able to pay its debt as they come due and has not filed, nor is it subject of any petition of bankruptcy or for reorganization
  under any federal or state bankruptcy law. Should the foregoing representation become false at any time during the course of a business relationship between the client and the creditor or while the client owes any
  amount to the creditor, client agrees to immediately notify Esquire of all facts surrounding such occurrences.
  2. The client authorizes Esquire to obtain a written or oral credit report from any credit reporting agency. In addition, the client further authorizes any bank or commercial business with whom the client is doing or has
  done any type business to give any and all necessary information to Esquire which will assist the creditor in the investigation. The client further authorizes the creditor to reinvestigate the client's credit status from time
  to time as the creditor deems necessary.
  GOVERNING LAW
  1. The Contract, including, without limitation, these Terms and Conditions, shall be governed by and construed in accordance with law of the State of New Jersey.
  2. The Buyer agrees that the jurisdiction and venue for all disputes under this invoice will be New Jersey.
  MISCELLANEOUS
  1. Buyer may not assign its rights under the contract without Seller's prior written consent.
  2. Failure by seller at any time or times to require strict performance of any provision hereof shall not be considered to be a waiver of Seller's rights with respect to such breach or any succeeding breach of such
  provision or any other provision of these Terms and Conditions.
  3. If any provision of these Terms and Conditions or the application thereof to any person or circumstance shall to any extent be held invalid or unenforceable, the remainder of such Terms and Conditions or the
  application of such provision to person or circumstances other than those to which it was held to be invalid or unenforceable shall not be affected thereby and shall be valid and be enforceable to the fullest extent
  permitted by law.
  4. Except where it is specified that a price stated is "firm", all prices are subject to change and orders will be invoiced at Seller's prices prevailing at the time the deposition is taken. All accounts are payable in U.S.
  funds, free of exchange, collection or other charges, in cases where price for Products include shipping costs, any increase in such shipping costs shall be for Buyer's account and Buyer agrees to pay Seller such
  increases.
  5. All applicable sales and use taxes, or any other taxes or charges imposed now or in the future by any federal, state, foreign or local authority upon the production, sale, or transportation of the Products shall be for
  the account Buyer.
  6. Any payments in excess of the invoice amount will be held on buyer's account as a deposit toward future services in the following twelve (12) months.
  7. All aspects of this invoice and other business terms comply with the ethical obligations set forth in the AZ Code of Judicial Administration Section 7-206(J)(1)(g)(3) through (6)




                                                                                                  Disclaimer
  Attorney is responsible for payment of all charges incurred. Payment due by "Payment Due" date shown on invoice. Transcript package typically includes transcript/word index, exhibits, appearance fee, condensed
  transcript, litigation support disk, shipping, video charges and may include other service charges based on job or region. Some services and rates may vary by job or region. Please contact your local office for specific
  detail and questions. The above stated terms and conditions, to the extent they contradict the rules and regulations in Arizona, do not apply. Esquire Deposition Solutions complies with AZ Code of Judicial
  Administration Section 7-206(J)(1)(g)(3) through (6)




                                                                                                           W9
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         Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 7 of 38 PageID# 18189
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               101 Marietta Street                                                                                 Dallas, TX 75284-6099
               Atlanta, GA 30303                                                                                   www.esquiresolutions.com


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               Toll Free (800) 211-DEPO
                                                                             Invoice # ESQ163104
               Fax (856) 437-5009
                                                                             Invoice Date                             08/18/2014
                                                                             Terms                                      NET 30
                                                                             Payment Due                              09/17/2014
               W. BARTON RANKIN ,ESQ.                                        Date of Loss
               BAKER & MCKENZIE, LLP - DALLAS
                                                                             Name of Insured
               2300 TRAMMELL CROW CENTER
               2001 ROSS AVENUE                                              Adjustor
               DALLAS, TX 75201                                              Claim Number

          Assignment                             Case                          Assignment #              Shipped                   Shipped Via

           08/08/2014     CERTUSVIEW TECHNOLOGIES, LLC, vs. S & N LO              182199               08/14/2014                    FED EX

       Description                                                                                                                  Amount
   Services Provided on 08/08/2014, CHARLES BRUTON (WINSTON-SALEM, NC)
          ONE COPY OF TRANSCRIPT/WORD INDEX (200 Pages)                                                                                   $ 1,216.00
          EXHIBITS                                                                                                                         $ 137.50
          ROUGH ASCII                                                                                                                      $ 262.40
          REALTIME FEED (164 Pages)                                                                                                        $ 303.40
          DIGITAL TRANSCRIPT/EXHIBITS                                                                                                         $ 35.00
          CONDENSED TRANSCRIPT                                                                                                                $ 35.00
                                                                                                                                          $ 1,989.30


          CSD-SHIPPING                                                                                                                        $ 35.02
                                                                                                                                              $ 35.02




   .                                                                                                                    Tax:                     $ 0.00
                                                                                                                       Paid:              $ 2,024.32

                                                                             Amount Due On/Before 10/02/2014                                  $ 0.00



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                                                                                                                      Invoice #:          ESQ163104
                                                                                                                Payment Due:              09/17/2014

                                                                                Amount Due On/Before 10/02/2014                                $ 0.00


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Case 2:13-cv-00346-MSD-RJK Document     Conditions
                                    255-3 Filed 02/02/15 Page 8 of 38 PageID# 18190

  GENERAL
  1. Parties. "Seller" means Esquire Deposition Solutions, ("Esquire") and "Buyer" means Esquire's client, attorney and law firm as well as the client that the attorney or law firm is representing, jointly and severely.
  2. These terms and conditions (the "Terms and Conditions") supersede all prior representations or arrangements and contain the entire agreement between the parties in connection with Esquire Deposition Solutions
  products and services. Seller's acceptance of Buyer's order and sale of the products and services to Buyer are expressly conditioned upon Buyer's assent to these Terms and Conditions of Sale and any and all other
  terms and conditions, claimed to be expressed or implied, are excluded. Esquire Deposition Solutions hereby expressly objects to and rejects any and all additional or different terms contained in any other documents
  submitted by Buyer in connection with the sale of the products. Any conduct by Buyer which recognizes the existence of a contract between Seller and Buyer, including, without limitation, acceptance of delivery of or
  payment for the Products and Services shall be conclusive evidence of Buyer's assent to these Terms and Conditions.
  3. No subsequent document, purchase order, or conduct, including acts or verbal statements of any buyer shall purport to modify these Terms and Conditions.
  4. For further information regarding our pricing policy go to: www.esquiresolutions.com/services
  CREDIT AND PAYMENT TERMS
  1. Credit terms, if any, both as to time and amount, may be limited or revoked by Seller at any time without prior notice and thereafter the price of all or any part of Products delivered or to be delivered shall be payable
  in accordance with such limited credit terms, or, at Seller's option, in cash before shipment or on or after acceptance of delivery ("COD"). In circumstances described in Section 6(a), all unpaid balances owing to Seller
  from Buyer shall become immediately due and payable.
  2. The Buyer agrees to pay for all services and products according to the terms established by the creditor in response to his order. No terms and conditions of any invoice or purchase order which differ from the terms
  so established by the creditor will govern the relationship between the parties.
  3. The client agrees that all amounts payable on or before the due date as shown on each invoice will be paid, and if not paid on or before said date, are then delinquent. Client further agrees that any amount which is
  not paid when due shall be subject to an interest charge of 1.5% per month or the highest rate allowed by applicable law, until paid in full.
  4. The customer agrees to be responsible for all collections costs and attorney's fees in the event Esquire is forced to place the account for collection with an outside agency. If the collection is handled in-house by
  Esquire, customer agrees to be responsible for the in-house time and costs incurred which will be billed at the rate of $50.00 per hour.
  5. A $35 handling fee will be assessed to checks returned for insufficient funds.
  6. Late Fees: Payment is due in full as stated on your bill. If we do not receive payment in full by the date specified on your bill, a late payment charge, which may be charged at the highest rate permissible by law,
  may be applied to the total unpaid balance.
  7. Undisputed Charges: Disputed Charges - You Must Still Pay Undisputed Charges: Any dispute to a charge on your bill must be made within 60 days of the date of the bill that initially contained the charge. Disputes
  may only be made by calling, emailing or writing us as directed on your invoice or elsewhere. All charges not properly disputed within the allotted time period shall be deemed accepted; undisputed charges must still be
  paid as stated on your bill. Any delayed payments will be levied late fees as stated above.
  SOLVENCY
  1. The client represents that, as of the date of its order or scheduled deposition, it is solvent, able to pay its debt as they come due and has not filed, nor is it subject of any petition of bankruptcy or for reorganization
  under any federal or state bankruptcy law. Should the foregoing representation become false at any time during the course of a business relationship between the client and the creditor or while the client owes any
  amount to the creditor, client agrees to immediately notify Esquire of all facts surrounding such occurrences.
  2. The client authorizes Esquire to obtain a written or oral credit report from any credit reporting agency. In addition, the client further authorizes any bank or commercial business with whom the client is doing or has
  done any type business to give any and all necessary information to Esquire which will assist the creditor in the investigation. The client further authorizes the creditor to reinvestigate the client's credit status from time
  to time as the creditor deems necessary.
  GOVERNING LAW
  1. The Contract, including, without limitation, these Terms and Conditions, shall be governed by and construed in accordance with law of the State of New Jersey.
  2. The Buyer agrees that the jurisdiction and venue for all disputes under this invoice will be New Jersey.
  MISCELLANEOUS
  1. Buyer may not assign its rights under the contract without Seller's prior written consent.
  2. Failure by seller at any time or times to require strict performance of any provision hereof shall not be considered to be a waiver of Seller's rights with respect to such breach or any succeeding breach of such
  provision or any other provision of these Terms and Conditions.
  3. If any provision of these Terms and Conditions or the application thereof to any person or circumstance shall to any extent be held invalid or unenforceable, the remainder of such Terms and Conditions or the
  application of such provision to person or circumstances other than those to which it was held to be invalid or unenforceable shall not be affected thereby and shall be valid and be enforceable to the fullest extent
  permitted by law.
  4. Except where it is specified that a price stated is "firm", all prices are subject to change and orders will be invoiced at Seller's prices prevailing at the time the deposition is taken. All accounts are payable in U.S.
  funds, free of exchange, collection or other charges, in cases where price for Products include shipping costs, any increase in such shipping costs shall be for Buyer's account and Buyer agrees to pay Seller such
  increases.
  5. All applicable sales and use taxes, or any other taxes or charges imposed now or in the future by any federal, state, foreign or local authority upon the production, sale, or transportation of the Products shall be for
  the account Buyer.
  6. Any payments in excess of the invoice amount will be held on buyer's account as a deposit toward future services in the following twelve (12) months.
  7. All aspects of this invoice and other business terms comply with the ethical obligations set forth in the AZ Code of Judicial Administration Section 7-206(J)(1)(g)(3) through (6)




                                                                                                  Disclaimer
  Attorney is responsible for payment of all charges incurred. Payment due by "Payment Due" date shown on invoice. Transcript package typically includes transcript/word index, exhibits, appearance fee, condensed
  transcript, litigation support disk, shipping, video charges and may include other service charges based on job or region. Some services and rates may vary by job or region. Please contact your local office for specific
  detail and questions. The above stated terms and conditions, to the extent they contradict the rules and regulations in Arizona, do not apply. Esquire Deposition Solutions complies with AZ Code of Judicial
  Administration Section 7-206(J)(1)(g)(3) through (6)




                                                                                                           W9
  DO YOU NEED A W9? VISIT http://www.esquiresolutions.com/W9
   Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 9 of 38 PageID# 18191
                                                                                                                                                Page 1 of2

                  ESQUIRE                                                                                      Remitto:
               Boston                                                                                            Esquire Deposition Solutions, LLC
              2700 Centennial Tower                                                                              P. 0. Box 846099
                                                                                                                 Dallas, TX 75284-6099
              101 Marietta Street
              Atlanta, GA 30303
                                                         ESQUIRE                                                 www.esquiresolutions.com


              Tax Number:       XX-XXXXXXX
              Toll Free (800) 211-DEPO
                                                                              Invoice # ESQ187932
              Fax (856) 437-5009
                                                                              Invoice Date                          10/02/2014
                                                                             Terms                                    NET30
                                                                              Payment Due                           11/01/2014
              W. BARTON RANKIN ,ESQ.                                         Date of loss
              BAKER & MCKENZIE, LLP DALLAS
                                                                             Name of Insured
              2300 TRAMMELL CROW CENTER
              2001 ROSS AVENUE                                               Adjustor
              DALLAS, TX 75201                                               Claim Number

        Assignment                                Case                          Assignment#            Shipped                   Shipped Via

        09/26/2014          ERTUSVIEW TECHNOLOGIES, LLC, vs. S & N L               203826             09/30/2014                   FED EX

    Description                                                                                                                   Amount
    Services Provided on 09/26/2014, IAN CATTANACK (WINSTON-SALEM, NC)
       ONE COPY OF TRANSCRIPT/WORD INDEX (40 Pages)                                                                                      $226.80
       EXHIBITS                                                                                                                             $25.00
       ROUGH ASCII                                                                                                                          $49.50
       REALTIME FEED (33 Pages)                                                                                                             $57.75
       DIGITAL TRANSCRIPT/EXHIBITS                                                                                                          $30.00
       CONDENSED TRANSCRIPT                                                                                                                 $ 16.00
                                                                                                                                         $405.05
    Services Provided on 09/26/2014, DEBORAH SCOTT (WINSTON-SALEM, NC)
       ONE COPY OF TRANSCRIPT/WORD INDEX (100 Pages)                                                                                     $477.00
       EXHIBITS                                                                                                                             $55.50
       ROUGH ASCII                                                                                                                       $124.50
       REALTIME FEED (83 Pages)                                                                                                          $145.25
       DIGITAL TRANSCRIPT/EXHIBITS                                                                                                          $30.00
       CONDENSED TRANSCRIPT                                                                                                                 $ 16.00
                                                                                                                                         $848.25


                                                                                                                      ON NEXT PAGE ...
__________________________________________ ...._J,••• _..,. _________________ _

Tax Number:    XX-XXXXXXX                    Please detach and return this bottom portion with your paymerrt
                                                      or pay online at www.esquireconnect.com
                                                              VISA                                                  Invoice #:         ESQ187932
                                                                                                               Payment Due:             11/01/2014
 ESQUIRE                                                                        Amount Due On/Before 11/16/2014                       $1,583.99


 W. BARTON RANKIN ,ESQ.                                                               Remit to:
 BAKER & MCKENZIE, LLP- DALLAS
                                                                                      Esquire Deposition Solutions, LLC
 2300 TRAMMELL CROW CENTER
                                                                                      P. 0. Box 846099
 2001 ROSS AVENUE
                                                                                      Dallas, TX 75284-6099
 DALLAS, TX 75201
                                                                                      www.esquiresolutions.com

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  194 0000187932 10022014 7 000158399 9 11012014 11162014 b 000174239 21
  Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 10 of 38 PageID# 18192
                                                                                                                                                 Page 2 of2

                  ESQUIRE                                                                                     Remit to:
                                                                                                                  Esquire Deposition Solutions, LLC
               Boston
              2700 Centennial Tower                                                                               P. 0. Box 846099
                                                                                                                  Dallas, TX 75284-6099
              101 Marietta Street
              Atlanta, GA 30303
                                                        ESQUIRE         (           ,,
                                                                                                                  www.esquiresolutions.com


              Tax Number:      XX-XXXXXXX
              Toll Free (800) 211-DEPO
                                                                            Invoice# ESQ187932
              Fax (856) 437-5009
                                                                            Invoice Date                             10/02/2014
                                                                            Terms                                      NET30
                                                                            Payment Due                              11/01/2014
              W. BARTON RANKIN ,ESQ.                                        Date of Loss
              BAKER & MCKENZIE, LLP- DALLAS
                                                                            Name of Insured
              2300 TRAMMELL CROW CENTER
              2001 ROSS AVENUE                                              Adjustor
              DALLAS, TX 75201                                              Claim Number

        Assignment                               Case                         Assignment#               Shipped                  Shipped Via

        09/26/2014          ERTUSVIEW TECHNOLOGIES, LLC, vs. S & N L             203826                09/30/2014                  FED EX

    Description                                                                                                                   Amount
    Services Provided on 09/26/2014 (WINSTON-SALEM, NC)
       VIDEO                                                                                                                              $300.00
                                                                                                                                          $300.00


       DELIVERY-OTHER                                                                                                                       $30.69
                                                                                                                                            $30.69




   INVOICE REFLECTS 2 DAY EXPEDITE                                                                                     Tax:                    $0.00
   ROUGH & REALTIME PROVIDED
                                                                                                                      Paid:                    $0.00

                                                                            Amount Due On/Before 11/16/2014                           $ 1,583.99


Tax Number:    XX-XXXXXXX                   Please detach and return this bottom portion with your payment
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                                                             VISA                                                    Invoice#:          ESQ187932
                                                                                                               Payment Due:              11/01/2014
 ESQUIRE                                                                       Amount Due On/Before 11/16/2014                         $1,583.99


W. BARTON RANKIN ,ESQ.                                                              Remit to:
BAKER & MCKENZIE, LLP - DALLAS
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2300 TRAMMELL CROW CENTER
                                                                                       P. 0. Box 846099
2001 ROSS AVENUE
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DALLAS, TX 75201
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  194 0000187932 10022014 7 000158399 9 11012014 11162014 6 000174239 21
Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 11 of 38 PageID# 18193



                                                                                                          INVOICE
                                                                                                            DATE: 9/10/2014
                                                                                                         INVOICE # 082114-324707




 Bill To:              W. Barton Rankin Esq.
                       Baker & McKenzie LLP
                       2300 Trammell Crow Center
                       2001 Ross Avenue
                       Dallas, TX 75201


 CASE:                 Certusview Technologies v. S&N Locating Services
 WITNESS:              Curtis Alvin Chambers
 DATE:                 8/21/2014
 LOCATION:             Riviera Beach, FL

 Billing Comments / Instructions:              Exhibits shipped separately.




      SHIP VIA               Overnight                TERMS                    net 30


                            SERVICES                                     # PAGES / QTY             UNIT PRICE                AMOUNT
               Original & 1 Certified Transcript                                 284                    $4.75                $1,349.00
              Original Transcript - Daily Delivery                               284                    $4.75                $1,349.00
                     Interactive Real-time                                       284                    $2.75                 $781.00
                         Rough ASCII                                             284                    $1.75                 $497.00
     Reporter Appearance Fee / First Hour - Videotaped                            1                   $100.00                 $100.00
      Reporter App Fee / Each Add'l Hour - Videotaped                             8                   $60.00                  $480.00
     Compressed / ASCII / Word Index - Complimentary                              1                   $45.00                   $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                 972                    $0.25                 $243.00
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                   $45.00                   $0.00
            Certified Transcript Sold Discount (1)                               284                   -$0.25                 -$71.00

                                                                                                   SUBTOTAL                  $4,728.00
                                                                                        SHIPPING & HANDLING                   $110.00
                                                                                                      TOTAL                  $4,838.00




            Please make all checks payable to: TSG Reporting, Inc.                                Federal ID # XX-XXXXXXX
      For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assessed a late fee of
                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                THANK YOU FOR YOUR BUSINESS!
Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 12 of 38 PageID# 18194



                                                                                                          INVOICE
                                                                                                         DATE: 10/29/2014
                                                                                                      INVOICE # 102114-428455
                                                                                               CLIENT MATTER # 22279523-000001




 Bill To:              Benjamin B. Kelly Esq.                          Ship To:                Julie Seger
                       Baker & McKenzie LLP                                                    Baker & McKenzie LLP
                       2300 Trammell Crow Center                                               2300 Trammell Crow Center
                       2001 Ross Avenue                                                        2001 Ross Avenue
                       Dallas, TX 75201                                                        Dallas, TX 75201


 CASE:                 Certusview Technologies v. S&N Locating Services
 WITNESS:              Curtis Alvin Chambers cont w/ p 285
 DATE:                 10/21/2014
 LOCATION:             Boston, MA

 Billing Comments / Instructions:




      SHIP VIA               Overnight                TERMS                    net 30


                            SERVICES                                     # PAGES / QTY             UNIT PRICE                AMOUNT
               Original & 1 Certified Transcript                                 139                    $4.75                 $660.25
           Original Transcript - Immediate Delivery                              139                    $5.15                 $715.85
                     Interactive Real-time                                       139                    $1.75                 $243.25
                         Rough ASCII                                             139                    $1.50                 $208.50
      Reporter Appearance Fee / Session - Videotaped                              1                    $70.00                  $70.00
     Compressed / ASCII / Word Index - Complimentary                              1                    $45.00                   $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                 195                    $0.25                  $48.75
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                    $45.00                   $0.00
            Certified Transcript Sold Discount (1)                               139                   -$0.25                 -$34.75

                                                                                                   SUBTOTAL                  $1,911.85
                                                                                        SHIPPING & HANDLING                   $50.00
                                                                                                      TOTAL                  $1,961.85




            Please make all checks payable to: TSG Reporting, Inc.                                Federal ID # XX-XXXXXXX
      For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assessed a late fee of
                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                THANK YOU FOR YOUR BUSINESS!
Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 13 of 38 PageID# 18195



                                                                                                          INVOICE
                                                                                                         DATE: 1/16/2015
                                                                                                      INVOICE # 010815-431779
                                                                                               CLIENT MATTER # 22279523-000001




 Bill To:              Julie Seger
                       Baker & McKenzie LLP
                       2300 Trammell Crow Center
                       2001 Ross Avenue
                       Dallas, TX 75201


 CASE:                 Certusview Technologies v. S&N Locating Services
 WITNESS:              Curtis A. Chambers cont w/ pg 424
 DATE:                 1/8/2015
 LOCATION:             Riviera Beach, FL

 Billing Comments / Instructions:              Includes shipping for original transcript sent at end of read & sign period.
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      SHIP VIA               Overnight                TERMS                    net 30


                            SERVICES                                     # PAGES / QTY             UNIT PRICE                AMOUNT
               Original & 1 Certified Transcript                                 235                    $4.75                $1,116.25
           Original Transcript - Immediate Delivery                              235                    $5.15                $1,210.25
                     Interactive Real-time                                       235                    $2.75                 $646.25
                         Rough ASCII                                             235                    $1.75                 $411.25
     Reporter Appearance Fee / First Hour - Videotaped                            1                   $100.00                 $100.00
      Reporter App Fee / Each Add'l Hour - Videotaped                            5.5                  $60.00                  $330.00
     Compressed / ASCII / Word Index - Complimentary                              1                   $45.00                    $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                 192                    $0.25                  $48.00
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                   $45.00                    $0.00
            Certified Transcript Sold Discount (1)                               235                   -$0.25                 -$58.75

                                                                                                   SUBTOTAL                  $3,803.25
                                                                                        SHIPPING & HANDLING                   $125.00
                                                                                                      TOTAL                  $3,928.25




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  Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 14 of 38 PageID# 18196
                                                                                                                                                  Page 1 of2

                  ESQUIRE                                                                                        Remit to:
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              Atlanta, GA 30303
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              Toll Free (800) 211-DEPO
                                                                             Invoice# ESQ196956
              Fax (856) 437-5009
                                                                             Invoice Date                              10/18/2014
                                                                             Terms                                       NET30
                                                                             Payment Due                               11/17/2014
              BENJAMIN MCKENZIE ,ESQ                                         Date of loss
              BAKER & MCKENZIE, LLP - DALLAS
                                                                             Name of Insured
              2300 TRAMMELL CROW CENTER
              2001 ROSS AVENUE                                               Adjustor
              DALLAS, TX 75201                                               Claim Number

        Assignment                                Case                         Assignment#                Shipped                  Shipped Via

        10/14/2014          ERTUSVIEWTECHNOLOGIES, LLC, vs. S & N L               220931                 10/17/2014                  FED EX

    Description                                                                                                                     Amount
    Services Provided on 10/14/2014, RYAN CLEATON (RICHMOND, VA)
       ONE COPY OF TRANSCRIPT/WORD INDEX (133 Pages)                                                                                        $895.09
       EXHIBITS                                                                                                                               $57.90
       ROUGH ASCII                                                                                                                          $201.60
       DIGITAL TRANSCRIPT/EXHIBITS                                                                                                            $25.00
       CONDENSED TRANSCRIPT                                                                                                                   $ 16.00
                                                                                                                                          $1,195.59
    Services Provided on 10/14/2014, JEFFREY HENSHAW (RICHMOND, VA)
       ONE COPY OF TRANSCRIPT/WORD INDEX (121 Pages)                                                                                        $814.33
       EXHIBITS                                                                                                                             $ 109.05
       VIDEO                                                                                                                                $450.00
       ROUGH ASCII                                                                                                                          $ 183.60
       DIGITAL TRANSCRIPT/EXHIBITS                                                                                                            $25.00
       CONDENSED TRANSCRIPT                                                                                                                   $16.00
                                                                                                                                          $ 1,597.98



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                                                                                     I
                                                              VISA                                                     Invoice#:          ESQ196956
                                                                                                                 Payment Due:              11/17/2014
 ESQUIRE                                                                        Amount Due On/Before 12/02/2014                          $2,827.25


BENJAMIN MCKENZIE ,ESQ                                                                   Remit to:
BAKER & MCKENZIE, LLP - DALLAS
                                                                                         Esquire Deposition Solutions, LLC
2300 TRAMMELL CROW CENTER
                                                                                         P. 0. Box 846099
2001 ROSS AVENUE
                                                                                         Dallas, TX 75284-6099
DALLAS, TX 75201
                                                                                         www.esquiresolutions.com

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  194 0000196956 10182014 0 000282725 9 11172014 12022014 6 000310998 84
  Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 15 of 38 PageID# 18197
                                                                                                                                                   Page 2 of2

                  ESQUIRE                                                                                       Remitto:
                                                                                                                    Esquire Deposition Solutions, LLC
               Boston
                                                                                                                    P. 0. Box 846099
              2700 Centennial Tower
                                                                                                                    Dallas, TX 75284-6099
              101 Marietta Street
              Atlanta. GA 30303
                                                       ESQUIRE                                                      www.esquiresolutions.com


              Tax Number:      XX-XXXXXXX
              Toll Free (800) 211-DEPO
                                                                              Invoice# ESQ196956
              Fax (856) 437-5009
                                                                              Invoice Date                             10/18/2014
                                                                              Terms                                      NET30
                                                                              Payment Due                              11/17/2014
              BENJAMIN MCKENZIE ,ESQ                                          Date of Loss
              BAKER & MCKENZIE, LLP- DALLAS
                                                                              Name of Insured
              2300 TRAMMELL CROW CENTER
              2001 ROSS AVENUE                                                Adjustor
              DALLAS, TX 75201                                                Claim Number

       Assignment                                  Case                         Assignment#               Shipped                  Shipped Via

        10/14/2014          ERTUSVIEW TECHNOLOGIES, LLC, vs. S & N L               220931                10/17/2014                  FED EX

    Description                                                                                                                     Amount


       DELIVERY-OTHER                                                                                                                         $33.68
                                                                                                                                              $33.68




   INVOICE REFLECTS 2 DAY EXPEDITE DELIVERY                                                                                                      $0.00
                                                                                                                        Paid:                    $0.00

                                                                              Amount Due On/Before 12/02/2014                           $2,827.25



Tax Number:    XX-XXXXXXX                     Please detach and return this bottom portion with your payment
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                                                               VISA                                                    Invoice#:          ESQ196956
                                                                                                                 Payment Due:              11/17/2014
 ESQUIRE                                                                         Amount Due On/Before 12/02/2014                         $2,827.25


BENJAMIN MCKENZIE ,ESQ                                                                Remit to:
BAKER & MCKENZIE, LLP - DALLAS
                                                                                         Esquire Deposition Solutions, LLC
2300 TRAMMELL CROW CENTER
                                                                                         P. 0. Box 846099
2001 ROSS AVENUE
                                                                                         Dallas, TX 75284-6099
DALLAS, TX 75201
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  194 0000196956 10182014 0 000282725 9 11172014 12022014 6 000310998 84
Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 16 of 38 PageID# 18198



                                                                                                          INVOICE
                                                                                                         DATE: 1/16/2015
                                                                                                      INVOICE # 010715-431775
                                                                                               CLIENT MATTER # 22279523-000001




 Bill To:              Julie Seger
                       Baker & McKenzie LLP
                       2300 Trammell Crow Center
                       2001 Ross Avenue
                       Dallas, TX 75201


 CASE:                 Certusview Technologies v. S&N Locating Services
 WITNESS:              David J. Crawford
 DATE:                 1/7/2015
 LOCATION:             Riviera Beach, FL

 Billing Comments / Instructions:              Includes shipping for original transcript sent at end of read & sign period.
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      SHIP VIA               Overnight                TERMS                    net 30


                            SERVICES                                     # PAGES / QTY             UNIT PRICE                AMOUNT
               Original & 1 Certified Transcript                                 374                    $4.75                $1,776.50
           Original Transcript - Immediate Delivery                              374                    $5.15                $1,926.10
             Original Transcript - Evening Pages                                  63                    $2.00                 $126.00
                     Interactive Real-time                                       374                    $2.75                $1,028.50
                         Rough ASCII                                             374                    $1.75                 $654.50
     Reporter Appearance Fee / First Hour - Videotaped                            1                   $100.00                 $100.00
      Reporter App Fee / Each Add'l Hour - Videotaped                             8                   $60.00                  $480.00
     Reporter App Fee / Add'l Evening Hour - Videotaped                          1.5                  $75.00                  $112.50
     Compressed / ASCII / Word Index - Complimentary                              1                   $45.00                    $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                 380                    $0.25                  $95.00
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                   $45.00                    $0.00
            Certified Transcript Sold Discount (1)                               374                   -$0.25                 -$93.50

                                                                                                   SUBTOTAL                  $6,205.60
                                                                                        SHIPPING & HANDLING                   $125.00
                                                                                                      TOTAL                  $6,330.60




            Please make all checks payable to: TSG Reporting, Inc.                                Federal ID # XX-XXXXXXX
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                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                THANK YOU FOR YOUR BUSINESS!
Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 17 of 38 PageID# 18199



                                                                                                          INVOICE
                                                                                                         DATE: 1/16/2015
                                                                                                      INVOICE # 010615-431771
                                                                                               CLIENT MATTER # 22279523-000001




 Bill To:              Julie Seger
                       Baker & McKenzie LLP
                       2300 Trammell Crow Center
                       2001 Ross Avenue
                       Dallas, TX 75201


 CASE:                 Certusview Technologies v. S&N Locating Services
 WITNESS:              Donald R. Davis
 DATE:                 1/6/2015
 LOCATION:             Riviera Beach, FL

 Billing Comments / Instructions:              Exhibits shipped separately.




      SHIP VIA               Overnight                TERMS                    net 30


                            SERVICES                                     # PAGES / QTY             UNIT PRICE                AMOUNT
               Original & 1 Certified Transcript                                 129                    $4.75                 $612.75
           Original Transcript - Immediate Delivery                              129                    $5.15                 $664.35
                     Interactive Real-time                                       129                    $2.75                 $354.75
                         Rough ASCII                                             129                    $1.75                 $225.75
     Reporter Appearance Fee / First Hour - Videotaped                            1                   $100.00                 $100.00
      Reporter App Fee / Each Add'l Hour - Videotaped                            5.5                  $60.00                  $330.00
     Compressed / ASCII / Word Index - Complimentary                              1                   $45.00                    $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                 386                    $0.25                  $96.50
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                   $45.00                    $0.00
            Certified Transcript Sold Discount (1)                               129                   -$0.25                 -$32.25

                                                                                                   SUBTOTAL                  $2,351.85
                                                                                        SHIPPING & HANDLING                   $100.00
                                                                                                      TOTAL                  $2,451.85




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      For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assessed a late fee of
                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                THANK YOU FOR YOUR BUSINESS!
Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 18 of 38 PageID# 18200



                                                                                                            INVOICE
                                                                                                          DATE: 11/28/2014
                                                                                                       INVOICE # 111814-429824
                                                                                                CLIENT MATTER # 22279523-000001




 Bill To:               Julie Seger
                        Baker & McKenzie LLP
                        2300 Trammell Crow Center
                        2001 Ross Avenue
                        Dallas, TX 75201


 CASE:                  Certusview Technologies v. S&N Locating Services
 WITNESS:               Randel Dymond, Ph.D.
 DATE:                  11/18/2014
 LOCATION:              Blacksburg, VA

 Billing Comments / Instructions:




      SHIP VIA                Overnight                TERMS                     net 30


                             SERVICES                                      # PAGES / QTY             UNIT PRICE                AMOUNT
                Original & 1 Certified Transcript                                 396                     $4.75                $1,881.00
           Original Transcript - Immediate Delivery                               396                     $5.25                $2,079.00
              Original Transcript - Early AM Pages                                 34                     $2.00                  $68.00
              Original Transcript - Evening Pages                                  86                     $2.00                 $172.00
                      Interactive Real-time                                       396                     $2.75                $1,089.00
                          Rough ASCII                                             396                     $2.25                 $891.00
         Reporter Appearance Fee / Hour - Videotaped                               9                     $60.00                 $540.00
        Reporter App Fee / Early AM Hour - Videotaped                              1                     $90.00                  $90.00
        Reporter App Fee / Evening Hour - Videotaped                              2.5                    $90.00                 $225.00
      Compressed / ASCII / Word Index - Complimentary                              1                     $45.00                  $0.00
           Exhibits - Scanned & Hyperlinked - B&W                                 163                     $0.25                  $40.75
           Exhibits - Scanned & Hyperlinked - Color                               469                     $1.50                 $703.50
   File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                     $45.00                  $0.00
             Certified Transcript Sold Discount (1)                               396                    -$0.25                 -$99.00

            Conference Room / Day - Complimentary                                  1                    $325.00                   $0.00

                                                                                                     SUBTOTAL                  $7,680.25
                                                                                          SHIPPING & HANDLING                   $25.00
                                                                                                        TOTAL                  $7,705.25




            Please make all checks payable to: TSG Reporting, Inc.                                 Federal ID # XX-XXXXXXX
       For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assessed a late fee of
                           1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                 THANK YOU FOR YOUR BUSINESS!
Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 19 of 38 PageID# 18201



                                                                                                          INVOICE
                                                                                                            DATE: 8/26/2014
                                                                                                         INVOICE # 081514-324393




 Bill To:              W. Barton Rankin Esq.
                       Baker & McKenzie LLP
                       2300 Trammell Crow Center
                       2001 Ross Avenue
                       Dallas, TX 75201


 CASE:                 Certusview Technologies v. S&N Locating Services
 WITNESS:              Timothy Ray Estes
 DATE:                 8/15/2014
 LOCATION:             Riviera Beach, FL

 Billing Comments / Instructions:




      SHIP VIA               Overnight                TERMS                    net 30


                            SERVICES                                     # PAGES / QTY             UNIT PRICE                AMOUNT
               Original & 1 Certified Transcript                                 152                    $4.75                 $722.00
           Original Transcript - Immediate Delivery                              152                    $5.15                 $782.80
                     Interactive Real-time                                       152                    $2.75                 $418.00
                         Rough ASCII                                             152                    $1.75                 $266.00
     Reporter Appearance Fee / First Hour - Videotaped                            1                   $100.00                 $100.00
      Reporter App Fee / Each Add'l Hour - Videotaped                             5                   $60.00                  $300.00
     Compressed / ASCII / Word Index - Complimentary                              1                   $45.00                    $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                 313                    $0.25                  $78.25
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                   $45.00                    $0.00
            Certified Transcript Sold Discount (1)                               152                   -$0.25                 -$38.00

                                                                                                   SUBTOTAL                  $2,629.05
                                                                                        SHIPPING & HANDLING                   $50.00
                                                                                                      TOTAL                  $2,679.05




            Please make all checks payable to: TSG Reporting, Inc.                                Federal ID # XX-XXXXXXX
      For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assessed a late fee of
                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                THANK YOU FOR YOUR BUSINESS!
Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 20 of 38 PageID# 18202



                                                                                                          INVOICE
                                                                                                            DATE: 9/10/2014
                                                                                                         INVOICE # 082214-324710




 Bill To:               Benjamin B. Kelly Esq.
                        Baker & McKenzie LLP
                        2300 Trammell Crow Center
                        2001 Ross Avenue
                        Dallas, TX 75201


 CASE:                  Certusview Technologies v. S&N Locating Services
 WITNESS:               Jeffrey Farr
 DATE:                  8/22/2014
 LOCATION:              Riviera Beach, FL

 Billing Comments / Instructions:               Exhibits shipped separately.




      SHIP VIA               Overnight                TERMS                    net 30


                            SERVICES                                      # PAGES / QTY             UNIT PRICE               AMOUNT
               Original & 1 Certified Transcript                                 212                    $4.75                $1,007.00
              Original Transcript - Daily Delivery                               212                    $4.75                $1,007.00
                     Interactive Real-time                                       212                    $2.75                 $583.00
                         Rough ASCII                                             212                    $1.75                 $371.00
     Reporter Appearance Fee / First Hour - Videotaped                            1                   $100.00                 $100.00
      Reporter App Fee / Each Add'l Hour - Videotaped                             6                   $60.00                  $360.00
     Compressed / ASCII / Word Index - Complimentary                              1                   $45.00                    $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                 327                    $0.25                  $81.75
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                   $45.00                    $0.00
            Certified Transcript Sold Discount (1)                               212                   -$0.25                 -$53.00

                                                                                                   SUBTOTAL                  $3,456.75
                                                                                        SHIPPING & HANDLING                   $100.00
                                                                                                      TOTAL                  $3,556.75




            Please make all checks payable to: TSG Reporting, Inc.                               Federal ID # XX-XXXXXXX
      For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assessed a late fee of
                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                THANK YOU FOR YOUR BUSINESS!
Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 21 of 38 PageID# 18203



                                                                                                          INVOICE
                                                                                                         DATE: 11/24/2014
                                                                                                      INVOICE # 110614-429455
                                                                                               CLIENT MATTER # 22279523-000001




 Bill To:              Julie Seger
                       Baker & McKenzie LLP
                       2300 Trammell Crow Center
                       2001 Ross Avenue
                       Dallas, TX 75201


 CASE:                 Certusview Technologies v. S&N Locating Services
 WITNESS:              Joseph L. Gabbard, Jr., Ph.D
 DATE:                 11/6/2014
 LOCATION:             Blacksburg, VA

 Billing Comments / Instructions:




      SHIP VIA               Overnight                TERMS                    net 30


                            SERVICES                                     # PAGES / QTY             UNIT PRICE                AMOUNT
               Original & 1 Certified Transcript                                 184                    $4.75                 $874.00
              Original Transcript - Daily Delivery                               184                    $4.75                 $874.00
                     Interactive Real-time                                       184                    $2.75                 $506.00
                Internet Real-time Set Up Fee                                     1                   $100.00                 $100.00
                         Rough ASCII                                             184                    $2.25                 $414.00
        Reporter Appearance Fee / Hour - Videotaped                              6.5                  $60.00                  $390.00
     Compressed / ASCII / Word Index - Complimentary                              1                   $45.00                    $0.00
          Exhibits - Scanned & Hyperlinked - Color                                65                    $1.50                  $97.50
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                   $45.00                    $0.00
            Certified Transcript Sold Discount (1)                               184                   -$0.25                 -$46.00

             Conference Room / Day - Complimentary                                1                   $675.00                   $0.00
               Additional Services - Refreshments                                 1                   $45.11                   $45.11

                                                                                                   SUBTOTAL                  $3,254.61
                                                                                        SHIPPING & HANDLING                   $50.00
                                                                                                      TOTAL                  $3,304.61




            Please make all checks payable to: TSG Reporting, Inc.                                Federal ID # XX-XXXXXXX
      For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assessed a late fee of
                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                THANK YOU FOR YOUR BUSINESS!
Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 22 of 38 PageID# 18204



                                                                                                          INVOICE
                                                                                                         DATE: 12/19/2014
                                                                                                      INVOICE # 121014-430562
                                                                                               CLIENT MATTER # 22279523-000001




 Bill To:              Julie Seger
                       Baker & McKenzie LLP
                       2300 Trammell Crow Center
                       2001 Ross Avenue
                       Dallas, TX 75201


 CASE:                 Certusview Technologies v. S&N Locating Services
 WITNESS:              Travis B. Halky
 DATE:                 12/10/2014
 LOCATION:             Singer Island, FL

 Billing Comments / Instructions:




      SHIP VIA               Overnight                TERMS                    net 30


                            SERVICES                                     # PAGES / QTY             UNIT PRICE                AMOUNT
               Original & 1 Certified Transcript                                 119                    $4.75                 $565.25
           Original Transcript - Immediate Delivery                              119                    $5.15                 $612.85
                     Interactive Real-time                                       119                    $2.75                 $327.25
                         Rough ASCII                                             119                    $1.75                 $208.25
     Reporter Appearance Fee / First Hour - Videotaped                            1                   $100.00                 $100.00
      Reporter App Fee / Each Add'l Hour - Videotaped                            4.5                  $60.00                  $270.00
     Compressed / ASCII / Word Index - Complimentary                              1                   $45.00                    $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                 195                    $0.25                  $48.75
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                   $45.00                    $0.00
            Certified Transcript Sold Discount (1)                               119                   -$0.25                 -$29.75

                                                                                                   SUBTOTAL                  $2,102.60
                                                                                        SHIPPING & HANDLING                   $50.00
                                                                                                      TOTAL                  $2,152.60




            Please make all checks payable to: TSG Reporting, Inc.                                Federal ID # XX-XXXXXXX
      For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assessed a late fee of
                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                THANK YOU FOR YOUR BUSINESS!
             Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 23 of 38 PageID# 18205

                           ESQUIHE                                                                                      Remit to:
                                                                                                                           Esquire Deposition Solutions, LLC
                        Boston
                                                                                                                           P. 0. Box 846099
                       2700 Centennial Tower
                                                                                                                           Dallas, TX 75284-6099
                       101 Marietta Street
                       Atlanta, GA 30303
                                                                 ESQUIRE                                                   www.esquiresolutions.com



                       Tax Number:      XX-XXXXXXX
                       Toll Free (800) 211-DEPO
                                                                                     Invoice# ESQ198903
                       Fax (856) 437-5009
iiiiiiiiiiiiiii
!!!!!!!!!!!!!!!                                                                      Invoice Date                             10/22/2014
                                                                                     Terms                                      NET30
                                                                                     Payment Due                              11/21/2014
                       W. BARTON RANKIN ,ESQ.                                        Date of Loss
                       BAKER & MCKENZIE, LLP- DALLAS
                                                                                     Name of Insured
                       2300 TRAMMELL CROW CENTER
                       2001 ROSS AVENUE                                              Adjustor
                       DALLAS, TX 75201                                              Claim Number

                  Assignment                              Case                          Assignment#              Shipped                 Shipped Via

                   10/15/2014          ERTUSVIEW TECHNOLOGIES, LLC, vs. S & N L             220952              10/17/2014                 FED EX

            Description                                                                                                                    Amount
           Services Provided on 10/15/2014, BRETT HATFIELD (WINSTON-SALEM, NC)
                  ONE COPY OF TRANSCRIPT/WORD INDEX (116 Pages)                                                                                    $771.40
                  EXHIBITS                                                                                                                          $ 89.45
                  VIDEO                                                                                                                              $0.00
                  ROUGH ASCII                                                                                                                      $ 153.60
                  REAL TIME FEED (96 Pages)                                                                                                        $ 177.60
                  DIGITAL TRANSCRIPT/EXHIBITS                                                                                                       $35.00
                  CONDENSED TRANSCRIPT                                                                                                              $35.00
                                                                                                                                                 $ 1,262.05


                  DELIVERY-OTHER                                                                                                                    $32.19
                                                                                                                                                    $32.19


          INVOICE REFLECTS 2 DAY EXPEDITE                                                                                      Tax:                    $0.00
          ROUGH & REAL TIME PROVIDED
                                                                                                                               Paid:                   $0.00

                                                                                                  Due On/Before 12/06/2014



  Tax Number:             XX-XXXXXXX                 Please detach and return this bottom portion with your payment
                                                              or pay online at www.esqt.dreconnect.com
                                                                      ''ISA          DISCCVER                                Invoice#:           ESQ198903
                                                                       "''            ~
                                                                                                                        Payment Due:              11/21/2014
     ESQUIRE                                                                            Amount Due On/Before 12/06/2014                        $ 1,294.24


   W. BARTON RANKIN ,ESQ.                                                                       Remit to:
   BAKER & MCKENZIE, LLP - DALLAS
                                                                                                Esquire Deposition Solutions, LLC
   2300 TRAMMELL CROW CENTER
                                                                                                P. 0. Box 846099
   2001 ROSS AVENUE
                                                                                                Dallas, TX 75284-6099
   DALLAS, TX 75201
                                                                                                www.esquiresolutions.com

                                                                     Thank you for your business!



        194 0000198903 10222014 7 000129424 7 11212014 12062014 7 000142366 95
Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 24 of 38 PageID# 18206



                                                                                                          INVOICE
                                                                                                         DATE: 11/24/2014
                                                                                                      INVOICE # 111214-429459
                                                                                               CLIENT MATTER # 22279523-000001




 Bill To:              Julie Seger
                       Baker & McKenzie LLP
                       2300 Trammell Crow Center
                       2001 Ross Avenue
                       Dallas, TX 75201


 CASE:                 Certusview Technologies v. S&N Locating Services
 WITNESS:              John C. Jarosz
 DATE:                 11/12/2014
 LOCATION:             Washington, DC

 Billing Comments / Instructions:




      SHIP VIA               Overnight                TERMS                    net 30


                            SERVICES                                     # PAGES / QTY             UNIT PRICE                AMOUNT
               Original & 1 Certified Transcript                                 299                    $4.50                $1,345.50
           Original Transcript - Immediate Delivery                              299                    $4.95                $1,480.05
             Original Transcript - Evening Pages                                  4                     $2.00                   $8.00
                     Interactive Real-time                                       299                    $1.75                 $523.25
                Internet Real-time Set Up Fee                                     1                   $100.00                 $100.00
                         Rough ASCII                                             299                    $1.50                 $448.50
      Reporter Appearance Fee / Session - Videotaped                              2                   $70.00                  $140.00
      Reporter App Fee / Evening Session - Videotaped                             1                   $105.00                 $105.00
     Compressed / ASCII / Word Index - Complimentary                              1                   $45.00                    $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                 482                    $0.25                 $120.50
          Exhibits - Scanned & Hyperlinked - Color                                10                    $1.50                  $15.00
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                   $45.00                    $0.00
            Certified Transcript Sold Discount (1)                               299                   -$0.25                 -$74.75

                                                                                                   SUBTOTAL                  $4,211.05
                                                                                        SHIPPING & HANDLING                   $60.00
                                                                                                      TOTAL                  $4,271.05




            Please make all checks payable to: TSG Reporting, Inc.                                Federal ID # XX-XXXXXXX
      For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assessed a late fee of
                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                THANK YOU FOR YOUR BUSINESS!
Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 25 of 38 PageID# 18207



                                                                                                          INVOICE
                                                                                                         DATE: 11/10/2014
                                                                                                      INVOICE # 102914-428912
                                                                                               CLIENT MATTER # 22279523-000001




 Bill To:              Julie Seger
                       Baker & McKenzie LLP
                       2300 Trammell Crow Center
                       2001 Ross Avenue
                       Dallas, TX 75201


 CASE:                 Certusview Technologies v. S&N Locating Services
 WITNESS:              Mark Leonardo
 DATE:                 10/29/2014
 LOCATION:             Boston, MA

 Billing Comments / Instructions:




      SHIP VIA               Overnight                TERMS                    net 30


                            SERVICES                                     # PAGES / QTY             UNIT PRICE                AMOUNT
               Original & 1 Certified Transcript                                  51                    $4.75                 $242.25
           Original Transcript - Immediate Delivery                               51                    $5.15                 $262.65
                     Interactive Real-time                                        51                    $1.75                  $89.25
      Reporter Appearance Fee / Session - Videotaped                              1                    $70.00                  $70.00
     Compressed / ASCII / Word Index - Complimentary                              1                    $45.00                   $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                 206                    $0.25                  $51.50
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                    $45.00                   $0.00
            Certified Transcript Sold Discount (1)                                51                   -$0.25                 -$12.75

                                                                                                   SUBTOTAL                   $702.90
                                                                                        SHIPPING & HANDLING                   $50.00
                                                                                                      TOTAL                   $752.90




            Please make all checks payable to: TSG Reporting, Inc.                                Federal ID # XX-XXXXXXX
      For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assessed a late fee of
                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                THANK YOU FOR YOUR BUSINESS!
  Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 26 of 38 PageID# 18208

                  ESQCIRE                                                                                     Remitto:
                                                                                                                  Esquire Deposition Solutions, LLC
               Boston
                                                                                                                  P. 0. Box 846099
              2700 Centennial Tower
                                                                                                                  Dallas, TX 75284-6099
              101 Marietta Street
              Atlanta, GA 30303
                                                      ESQUIRE                                                     www.esquiresolutions.com


              Tax Number:      XX-XXXXXXX
              Toll Free (800) 211-DEPO
                                                                            Invoice# ESQ212151
              Fax (856) 437-5009
                                                                            Invoice Date                             11/14/2014
                                                                            Terms                                      NET30
                                                                            Payment Due                              12/14/2014
              BENJAMIN KELLY ,ESQ                                           Date of Loss
              BAKER & MCKENZIE, LLP- DALLAS
                                                                            Name of Insured
              2300 TRAMMELL CROW CENTER
              2001 ROSS AVENUE                                              Adjustor
              DALLAS, TX 75201                                              Claim Number

        Assignment                               Case                         Assignment#               Shipped                  Shipped Via

         11/08/2014         ERTUSVIEW TECHNOLOGIES, LLC, vs. S & N L             233040                11/12/2014                  FED EX

    Description                                                                                                                   Amount
    Services Provided on 11/08/2014, WILLIAM MICHALSON (BOSTON, MA)
       ONE COPY OF TRANSCRIPT/WORD INDEX (286 Pages)                                                                                    $ 1,901.90
       EXHIBITS                                                                                                                           $382.90
       VIDEO                                                                                                                              $525.00
       HANDLING FEE                                                                                                                         $20.00
       ROUGH ASCII                                                                                                                        $374.40
       DIGITAL TRANSCRIPT/EXHIBITS                                                                                                          $35.00
       CONDENSED TRANSCRIPT                                                                                                                 $35.00
                                                                                                                                        $3,274.20


       CLIENT DISCOUNT DISCOUNT                                                                                                          $-242.69
       DELIVERY -OTHER                                                                                                                      $37.84
                                                                                                                                         $-204.85
   INVOICE REFLECTS 2 DAY EXPEDITE                                                                                     Tax:                    $0.00
   ROUGH ASCII PROVIDED
                                                                                                                      Paid:                    $0.00

                                                                                                                                      $3,069.35



Tax Number:    XX-XXXXXXX                   Please detach and return this bottom portion with your payment
                                                     or pay online at www.esquireconnect.com

                                                             VISA                                                    Invoice#:          ESQ212151
                                                                                                               Payment Due:              12/14/2014
 ESQUIRE                                                                       Amount Due On/Before 12/29/2014                         $3,069.35


BENJAMIN KELLY ,ESQ                                                                 Remit to:
BAKER & MCKENZIE, LLP - DALLAS
                                                                                       Esquire Deposition Solutions, LLC
2300 TRAMMELL CROW CENTER
                                                                                       P. 0. Box 846099
2001 ROSS AVENUE
                                                                                       Dallas, TX 75284-6099
DALLAS, TX 75201
                                                                                       www.esquiresolutions.com

                                                            Thank you for your business!



  194 0000212151 11142014 5 000306935 8 12142014 12292014 6 000337629 19
Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 27 of 38 PageID# 18209



                                                                                                          INVOICE
                                                                                                            DATE: 8/26/2014
                                                                                                         INVOICE # 081114-324390




 Bill To:              John G. Flaim Esq.
                       Baker & McKenzie LLP
                       2300 Trammell Crow Center
                       2001 Ross Avenue
                       Dallas, TX 75201


 CASE:                 Certusview Technologies v. S&N Locating Services
 WITNESS:              Steven Nielsen
 DATE:                 8/11/2014
 LOCATION:             Riviera Beach, FL

 Billing Comments / Instructions:




      SHIP VIA               Overnight                TERMS                    net 30


                            SERVICES                                     # PAGES / QTY             UNIT PRICE                AMOUNT
               Original & 1 Certified Transcript                                 216                    $4.75                $1,026.00
           Original Transcript - Immediate Delivery                              216                    $5.15                $1,112.40
                      Interactive Real-time                                      216                    $2.75                 $594.00
        Internet Real-time Connectivity Charge / User                             1                   $100.00                 $100.00
                          Rough ASCII                                            216                    $1.75                 $378.00
     Reporter Appearance Fee / First Hour - Videotaped                            1                   $100.00                 $100.00
      Reporter App Fee / Each Add'l Hour - Videotaped                             6                   $60.00                  $360.00
     Compressed / ASCII / Word Index - Complimentary                              1                   $45.00                   $0.00
           Exhibits - Scanned & Hyperlinked - B&W                                496                    $0.25                 $124.00
           Exhibits - Scanned & Hyperlinked - Color                              107                    $1.50                 $160.50
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                   $45.00                   $0.00
             Certified Transcript Sold Discount (1)                              216                   -$0.25                 -$54.00

                                                                                                   SUBTOTAL                  $3,900.90
                                                                                        SHIPPING & HANDLING                   $50.00
                                                                                                      TOTAL                  $3,950.90




            Please make all checks payable to: TSG Reporting, Inc.                                Federal ID # XX-XXXXXXX
      For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assessed a late fee of
                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                THANK YOU FOR YOUR BUSINESS!
Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 28 of 38 PageID# 18210



                                                                                                          INVOICE
                                                                                                         DATE: 1/16/2015
                                                                                                      INVOICE # 010915-431783A
                                                                                               CLIENT MATTER # 22279523-000001
                                                                                                        REVISED 1/27/2015


 Bill To:               Julie Seger
                        Baker & McKenzie LLP
                        2300 Trammell Crow Center
                        2001 Ross Avenue
                        Dallas, TX 75201


 CASE:                  Certusview Technologies v. S&N Locating Services
 WITNESS:               Steven Nielsen cont w/ pg 217
 DATE:                  1/9/2015
 LOCATION:              Riviera Beach, FL

 Billing Comments / Instructions:               Exhibits shipped separately.




      SHIP VIA               Overnight                TERMS                    net 30


                            SERVICES                                      # PAGES / QTY             UNIT PRICE               AMOUNT
               Original & 1 Certified Transcript                                 200                    $4.75                 $950.00
           Original Transcript - Immediate Delivery                              200                    $5.15                $1,030.00
                     Interactive Real-time                                       200                    $2.75                 $550.00
                         Rough ASCII                                             200                    $1.75                 $350.00
     Reporter Appearance Fee / First Hour - Videotaped                            1                   $100.00                 $100.00
      Reporter App Fee / Each Add'l Hour - Videotaped                             4                   $60.00                  $240.00
     Compressed / ASCII / Word Index - Complimentary                              1                   $45.00                    $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                 337                    $0.25                  $84.25
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                   $45.00                    $0.00
            Certified Transcript Sold Discount (1)                               200                   -$0.25                 -$50.00

                                                                                                   SUBTOTAL                  $3,254.25
                                                                                        SHIPPING & HANDLING                   $50.00
                                                                                                      TOTAL                  $3,304.25




            Please make all checks payable to: TSG Reporting, Inc.                               Federal ID # XX-XXXXXXX
      For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assessed a late fee of
                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                THANK YOU FOR YOUR BUSINESS!
Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 29 of 38 PageID# 18211



                                                                                                          INVOICE
                                                                                                         DATE: 1/16/2015
                                                                                                      INVOICE # 010915-431783
                                                                                               CLIENT MATTER # 22279523-000001




 Bill To:              Julie Seger
                       Baker & McKenzie LLP
                       2300 Trammell Crow Center
                       2001 Ross Avenue
                       Dallas, TX 75201


 CASE:                 Certusview Technologies v. S&N Locating Services
 WITNESS:              Steven Nielsen cont w/ pg 217 / Gail Sternstein
 DATE:                 1/9/2015
 LOCATION:             Riviera Beach, FL

 Billing Comments / Instructions:              Exhibits shipped separately.




      SHIP VIA               Overnight                TERMS                    net 30


                            SERVICES                                     # PAGES / QTY             UNIT PRICE                AMOUNT
               Original & 1 Certified Transcript                                 278                    $4.75                $1,320.50
           Original Transcript - Immediate Delivery                              278                    $5.15                $1,431.70
                     Interactive Real-time                                       278                    $2.75                 $764.50
                         Rough ASCII                                             278                    $1.75                 $486.50
     Reporter Appearance Fee / First Hour - Videotaped                            1                   $100.00                 $100.00
      Reporter App Fee / Each Add'l Hour - Videotaped                            6.5                  $60.00                  $390.00
     Compressed / ASCII / Word Index - Complimentary                              2                   $45.00                    $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                 352                    $0.25                  $88.00
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                   $45.00                    $0.00
            Certified Transcript Sold Discount (1)                               278                   -$0.25                 -$69.50

                                                                                                   SUBTOTAL                  $4,511.70
                                                                                        SHIPPING & HANDLING                   $100.00
                                                                                                      TOTAL                  $4,611.70




            Please make all checks payable to: TSG Reporting, Inc.                                Federal ID # XX-XXXXXXX
      For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assessed a late fee of
                          1.5% per month, not to exceed the legal limit. If you have any questions, please call TSG.
                                                THANK YOU FOR YOUR BUSINESS!
      Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 30 of 38 PageID# 18212

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                                                                              Invoice # ESQ195899
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                                                                              Terms                                         NET30
                                                                              Payment Due                                 11/15/2014
              W. BARTON RANKIN ,ESQ.                                          Date of Loss
              BAKER & MCKENZIE, LLP- DALLAS
                                                                              Name of Insured
              2300 TRAMMELL CROW CENTER
              2001 ROSS AVENUE                                                Adjustor
              DALLAS, TX 75201                                                Claim Number

       Assignment                               Case                            Assignment#                  Shipped                 Shipped Via

        10/08/2014          ERTUSVIEW TECHNOLOGIES, LLC, vs. S & N L                215557               10/09/2014                    FED EX

    Description                                                                                                                        Amount
    Services Provided on 10/08/2014, DAVID POWELL (CHARLOTTESVILLE, VA)
       ONE COPY OF TRANSCRIPT/WORD INDEX (136 Pages)                                                                                           $915.28
       EXHIBITS                                                                                                                                 $ 80.75
       ROUGH ASCII                                                                                                                             $201.60
       DIGITAL TRANSCRIPT/EXHIBITS                                                                                                              $25.00
       CONDENSED TRANSCRIPT                                                                                                                     $ 16.00
                                                                                                                                             $ 1,238.63


       DELIVERY-OTHER                                                                                                                           $30.69
                                                                                                                                                $30.69




                                                                                                                           Tax:                    $0.00
                                                                                                                           Paid:                   $0.00

                                                                                          Due On/Before 11/30/2014                         $ 1,269.32

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 ESQUIRE                                                                         Amount Due On/Before 11/30/2014                            $ 1,269.32


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   194 0000195899 10162014 3 000126932 0 11152014 11302014 1 000139625 53
                  Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 31 of 38 PageID# 18213
                                                                                                   Page 1 of 2

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                       Fax (856) 437-5009
                                                                                     Invoice# ESQ213741
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!!!!!!!!!!!!!                                                                        Invoice Date                             11/18/2014



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                                                                                     Terms                                      NET 30
~-                                                                                   Payment Due                              12/18/2014
!!!!!!!!!!!!!          W. BARTON RANKIN ,ESQ.                                        Date of loss
iiiiiiiiiiiiiii        BAKER & MCKENZIE, LLP- DALLAS
iiiiiiiiiiiiiii                                                                      Name of Insured
!!!!!!!!!!!!!          2300 TRAMMELL CROW CENTER
                       2001 ROSS AVENUE                                              Adjustor
                       DALLAS, TX 75201                                              Claim Number

                   Assignment                             Case                         Assignment#               Shipped                 Shipped Via

                   11/13/2014          ERTUSVIEW TECHNOLOGIES, LLC, vs. S & N L             236039              11/17/2014                 FED EX

            Description                                                                                                                    Amount
           Services Provided on 11/13/2014, MICHELE RILEY (WASHINGTON, DC)
                  ONE COPY OF TRANSCRIPT/WORD INDEX (308 Pages)                                                                                    $985.60
                  EXHIBITS                                                                                                                         $ 174.00
                  VIDEO                                                                                                                            $477.75
                  REAL TIME & ROUGH                                                                                                                $ 874.35
                  DIGITAL TRANSCRIPT/EXHIBITS                                                                                                       $25.00
                  CONDENSED TRANSCRIPT                                                                                                              $ 16.00
                  LAPTOP RENTAL FOR REALTIME                                                                                                        $75.00
                  TWO DAY EXPEDITE (261 Pages)                                                                                                     $ 793.44
                                                                                                                                                 $3,421.14


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                  DELIVERY-OTHER                                                                                                                    $ 34.74
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        194 0000213741 111820 4 2 000337732 9 12182014 01022015 8 000371505 26
      Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 32 of 38 PageID# 18214
                                                                                       Page 2 of 2
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                                                                            Invoice# ESQ213741
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                                                                            Invoice Date                             11/18/2014
                                                                            Terms                                      NET30
                                                                            Payment Due                              12/18/2014
              W. BARTON RANKIN ,ESQ.                                        Date of loss
              BAKER & MCKENZIE, LLP- DALLAS
                                                                            Name of Insured
              2300 TRAMMELL CROW CENTER
              2001 ROSS AVENUE                                              Adjustor
              DALLAS, TX 75201                                              Claim Number

        Assignment                               Case                         Assignment#               Shipped                 Shipped Via

        11/13/2014       CERTUSVIEW TECHNOLOGIES, LLC, vs. S & N LO               236039               11/17/2014                 FED EX

    Description                                                                                                                   Amount




   PROVIDED ROUGH & REAL TIME                                                                                         Tax:                    $0.00
                                                                                                                      Paid:                   $0.00

                                                                            Amount Due On/Before 01/02/2015                           $ 3,377.32



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                                                                                                               Payment Due:              12/18/2014
 ESQUIRE                                                                       Amount Due On/Before 01/02/2015                         $3,377.32


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Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 33 of 38 PageID# 18215



                                                                                                          INVOICE
                                                                                                         DATE: 1/16/2015
                                                                                                      INVOICE # 010915-431783B
                                                                                               CLIENT MATTER # 22279523-000001
                                                                                                        REVISED 1/27/2015


 Bill To:               Julie Seger
                        Baker & McKenzie LLP
                        2300 Trammell Crow Center
                        2001 Ross Avenue
                        Dallas, TX 75201


 CASE:                  Certusview Technologies v. S&N Locating Services
 WITNESS:               Gail Sternstein
 DATE:                  1/9/2015
 LOCATION:              Riviera Beach, FL

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                            SERVICES                                      # PAGES / QTY             UNIT PRICE               AMOUNT
               Original & 1 Certified Transcript                                 78                     $4.75                 $370.50
           Original Transcript - Immediate Delivery                              78                     $5.15                 $401.70
                     Interactive Real-time                                       78                     $2.75                 $214.50
                         Rough ASCII                                             78                     $1.75                 $136.50
      Reporter App Fee / Each Add'l Hour - Videotaped                            2.5                   $60.00                 $150.00
     Compressed / ASCII / Word Index - Complimentary                              1                    $45.00                  $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                 15                     $0.25                  $3.75
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                    $45.00                  $0.00
            Certified Transcript Sold Discount (1)                               78                    -$0.25                 -$19.50

                                                                                                   SUBTOTAL                  $1,257.45
                                                                                        SHIPPING & HANDLING                   $50.00
                                                                                                      TOTAL                  $1,307.45




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Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 34 of 38 PageID# 18216



                                                                                                          INVOICE
                                                                                                            DATE: 10/20/2014
                                                                                                         INVOICE # 100814-427992




 Bill To:              Benjamin B. Kelly Esq.
                       Baker & McKenzie LLP
                       2300 Trammell Crow Center
                       2001 Ross Avenue
                       Dallas, TX 75201


 CASE:                 Certusview Technologies v. S&N Locating Services
 WITNESS:              Dennis Tarosky (30B6: UtiliQuest)
 DATE:                 10/8/2014
 LOCATION:             Atlanta, GA

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               Original & 1 Certified Transcript                                 204                    $4.25                 $867.00
           Original Transcript - Immediate Delivery                              204                    $4.50                 $918.00
                     Interactive Real-time                                       204                    $1.50                 $306.00
                         Rough ASCII                                             204                    $1.50                 $306.00
      Reporter Appearance Fee / Session - Videotaped                              2                   $100.00                 $200.00
     Compressed / ASCII / Word Index - Complimentary                              1                   $45.00                    $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                 349                    $0.25                  $87.25
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                   $45.00                    $0.00
            Certified Transcript Sold Discount (1)                               204                   -$0.25                 -$51.00

                                                                                                   SUBTOTAL                  $2,633.25
                                                                                        SHIPPING & HANDLING                   $100.00
                                                                                                      TOTAL                  $2,733.25




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Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 35 of 38 PageID# 18217



                                                                                                          INVOICE
                                                                                                         DATE: 11/10/2014
                                                                                                      INVOICE # 103014-428916
                                                                                               CLIENT MATTER # 22279523-000001




 Bill To:              Julie Seger
                       Baker & McKenzie LLP
                       2300 Trammell Crow Center
                       2001 Ross Avenue
                       Dallas, TX 75201


 CASE:                 Certusview Technologies v. S&N Locating Services
 WITNESS:              Joseph Teja, Jr.
 DATE:                 10/30/2014
 LOCATION:             Boston, MA

 Billing Comments / Instructions:




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               Original & 1 Certified Transcript                                 188                    $4.75                 $893.00
           Original Transcript - Immediate Delivery                              188                    $5.15                 $968.20
                     Interactive Real-time                                       188                    $1.75                 $329.00
                Internet Real-time Set Up Fee                                     1                   $100.00                 $100.00
                         Rough ASCII                                             188                    $1.50                 $282.00
      Reporter Appearance Fee / Session - Videotaped                              2                   $70.00                  $140.00
     Compressed / ASCII / Word Index - Complimentary                              1                   $45.00                    $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                 235                    $0.25                  $58.75
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                   $45.00                    $0.00
            Certified Transcript Sold Discount (1)                               188                   -$0.25                 -$47.00

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                                                                                        SHIPPING & HANDLING                   $25.00
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Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 36 of 38 PageID# 18218



                                                                                                          INVOICE
                                                                                                         DATE: 12/31/2014
                                                                                                      INVOICE # 121814-431088
                                                                                               CLIENT MATTER # 22279523-000001




 Bill To:              Julie Seger
                       Baker & McKenzie LLP
                       2300 Trammell Crow Center
                       2001 Ross Avenue
                       Dallas, TX 75201


 CASE:                 Certusview Technologies v. S&N Locating Services
 WITNESS:              Joseph Teja, Jr. cont w/ pg. 189
 DATE:                 12/18/2014
 LOCATION:             Boston, MA

 Billing Comments / Instructions:




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                            SERVICES                                     # PAGES / QTY             UNIT PRICE                AMOUNT
               Original & 1 Certified Transcript                                 170                    $4.75                 $807.50
           Original Transcript - Immediate Delivery                              170                    $5.15                 $875.50
                     Interactive Real-time                                       170                    $1.75                 $297.50
                         Rough ASCII                                             170                    $1.50                 $255.00
      Reporter Appearance Fee / Session - Videotaped                              2                    $70.00                 $140.00
     Compressed / ASCII / Word Index - Complimentary                              1                    $45.00                   $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                 330                    $0.25                  $82.50
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                    $45.00                   $0.00
            Certified Transcript Sold Discount (1)                               170                   -$0.25                 -$42.50

                                                                                                   SUBTOTAL                  $2,415.50
                                                                                        SHIPPING & HANDLING                   $50.00
                                                                                                      TOTAL                  $2,465.50




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Case 2:13-cv-00346-MSD-RJK Document 255-3 Filed 02/02/15 Page 37 of 38 PageID# 18219



                                                                                                          INVOICE
                                                                                                            DATE: 8/29/2014
                                                                                                         INVOICE # 082214-426119




 Bill To:              Daniel J. O'Connor Esq.
                       Baker & McKenzie LLP
                       300 East Randolph Street, Suite 5000
                       Chicago, IL 60601




 CASE:                 Certusview Technologies v. S&N Locating Services
 WITNESS:              Page Tucker
 DATE:                 8/22/2014
 LOCATION:             Grand Junction, CO

 Billing Comments / Instructions:




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                            SERVICES                                     # PAGES / QTY             UNIT PRICE                AMOUNT
               Original & 1 Certified Transcript                                 122                    $4.95                 $603.90
           Original Transcript - Immediate Delivery                              122                    $5.15                 $628.30
                     Interactive Real-time                                       122                    $1.75                 $213.50
                         Rough ASCII                                             122                    $1.50                 $183.00
        Reporter Appearance Fee / Hour - Videotaped                              3.5                   $45.00                 $157.50
     Compressed / ASCII / Word Index - Complimentary                              1                    $45.00                   $0.00
          Exhibits - Scanned & Hyperlinked - B&W                                 164                    $0.25                  $41.00
  File Creation Fee - Hyperlinked Exhibits - Complimentary                        1                    $45.00                   $0.00
            Certified Transcript Sold Discount (1)                               122                   -$0.25                 -$30.50

                                                                                                   SUBTOTAL                  $1,796.70
                                                                                        SHIPPING & HANDLING                   $50.00
                                                                                                      TOTAL                  $1,846.70




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                                                                             Invoice Date                            12/03/2014
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                                                                           IPayment Due                              01/02/2015
              BENJAMIN KELLY ,ESQ                                                   of Loss
              BAKER & MCKENZIE, LLP - DALLAS
                                                                            Name of Insured
              2300 TRAMMELL CROW CENTER
              2001 ROSS AVENUE                                              Adjustor
              DALLAS, TX 75201                                              Claim Number

        Assignment                               Case                             Assignment#           Shipped                   Shipped Via

         11/17/2014         ERTUSVIEW TECHNOLOGIES, LLC, vs. S & N L                236053             12/02/2014                   FED EX

    Description                                                                                                                    Amount
    Services Provided on 11/17/2014, IVAN ZATKOVICH (TAMPA, FL)
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                                                                                                                                         $ 1,907.50


       SHIPPING                                                                                                                              $ 77.96
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